                           UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF MISSOURI



BEVERLY PLATT, Individually and On
Behalf of All Others Similarly Situated,

                           Plaintiff,              CIVIL ACTION NO. 4:10-cv-991

       vs.
                                                   CLASS ACTION COMPLAINT FOR
                                                   VIOLATIONS OF THE FEDERAL
JOHN J. SHERMAN, WARREN H.                         SECURITIES LAW
GFELLER, ARTHUR B. KRAUSE,
RICHARD T. O'BRIEN, INERGY
                                                   JURY TRIAL DEMANDED
HOLDINGS L.P., INERGY HOLDINGS GP,
LLC, NRGP LIMITED PARTNER, LLC,
NRGP MS, LLC, AND INERGY, L.P.,

                           Defendants.



                              CLASS ACTION COMPLAINT

       Plaintiff, by his attorneys, alleges the following upon information and belief, except

for those allegations that pertain to plaintiff and his attorneys, which allegations are based on

personal knowledge. Plaintiff's information and belief is based on, inter alia, the investigation

conducted by his attorneys, including a review of the public filings of defendant Inergy

Holdings L.P. ("Holdings" or the "Company"), press releases, news articles and publicly

available information concerning Holdings.

                               SUMMARY OF THE ACTION

       1.      This action arises out of the unlawful actions of the Director Defendants (as

defined below), in conspiracy with or aided and abetted by the third parties, in connection

with a proposed transaction whereby the Company, Inergy Holdings GP, LLC (“Holdings

GP”), NRGP Limited Partner, LLC (“New NRGP LP”), NRGP MS, LLC (“MergerCo”) and




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Inergy, L.P. (the "Partnership") entered into an Agreement and Plan of Merger (the "Merger

Agreement"), dated as of August 7, 2010, whereby Holdings will be sold to the Partnership.

       2.      Under the proposed agreement, Holdings common unitholders (the “Holdings

Common Units”) will receive 0.77 Partnership limited partnership units (the “LP Units”) in

exchange for each Holdings LP Unit owned at closing, an approximate value of $33 per

Holdings Common Unit. Upon closing of the merger, the former owners of Holdings will

own approximately 43.8% of the combined entity.

       3.      Specifically, pursuant to the terms of the Merger Agreement, among other

things (a) Holdings will (i) distribute to the holders of Holdings Common Units the common

units representing the LP Units that Holdings owns (the “Holdings LP Units”), such

distribution to be included as a component of the merger consideration; (ii) exchange with the

Partnership the incentive distribution rights in the Partnership (the “IDRs”) owned by

Holdings; and (iii) contribute to the Partnership all of Holdings’ ownership interests in IPCH

Acquisition Corp. (“IPCH”), a wholly owned subsidiary of Holdings, and Inergy Partners,

LLC (“Inergy Partners”), a direct and indirect wholly owned subsidiary of Holdings.

       4.      The Partnership, as consideration for the contribution and exchange (the “GP

Exchange”), will (i) deposit or cause to be deposited with an exchange agent for the benefit

of holders of Holdings Common Units 35,031,991 LP Units (together with the Holdings LP

Units, the “New LP Units”) and 11,568,560 Class B Units in the Partnership having such

rights, preferences and limitations as are set forth in the Partnership’s Third Amended and

Restated Agreement of Limited Partnership (the “Amended and Restated Partnership

Agreement”), (ii) provide cash to be paid in lieu of any fractional New LP Unit or Class B

Unit, as applicable, issuable upon exchange as described below, and (iii) assume Holdings’

liabilities pursuant to Holdings’ Credit Agreements.



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       5.     Upon the GP Exchange, the IDRs will be cancelled and have no further force

or effect and the 789,202 LP Units owned by IPCH and the 2,837,034 LP Units and 0.71%

general partner interest in the Partnership owned by Inergy Partners will be converted into

Class A Units in the Partnership of equivalent value and having such rights, preferences and

limitations as are set forth in the Amended and Restated Partnership Agreement.

       6.     MergerCo will merge with and into Holdings, the separate existence of

MergerCo will cease and Holdings will survive and continue to exist as a Delaware limited

partnership (the “Merger”), such that immediately following the Merger, Holdings GP will

continue to be the sole general partner of Holdings and New NRGP LP will be admitted to,

and become the sole limited partner of, Holdings; and by virtue of the Merger, each Holdings

Common Unit that is issued and outstanding will be converted into the right to receive 0.770

LP Units; except that with respect to the 11,568,560 LP Units to which the certain members

of senior management (the “PIK Recipients”) of the Partnership otherwise would be entitled

to receive pursuant to the Merger, the PIK Recipients will instead receive their respective

shares of Class B Units in the amounts described below.

       7.     The terms of the Merger Agreement were approved by a committee (the

“Partnership Committee”) appointed by the board of directors of Partnership GP, and by a

committee (the “Holdings Committee”) appointed by the board of directors of Holdings GP.

       8.     The deal includes the issuance of $2 billion in Partnership common units (the

"Merger" or "Proposed Transaction").

       9.     Additionally, the Partnership and certain unitholders of Holdings: John J.

Sherman, Phillip L. Elbert, R. Brooks Sherman, Jr, Andrew L. Atterbury, William C.

Gautreaux, and Carl A. Hughes comprising a majority of the issued and outstanding Holdings

Common Units (collectively, the “Holdings Supporting Unitholders”) have executed a

Support Agreement (the “Support Agreement”) pursuant to which the Holdings Supporting
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Unitholders have agreed to, among other things, vote in favor of the approval and adoption of

the Merger Agreement.

       10.     In support of the Merger, certain members of Holdings’ senior management

have agreed to take a portion of their consideration in the form of paid-in-kind equity

securities (“PIK Units”) in lieu of common units. The PIK Units total approximately 11.6

million units, or approximately 24% of the total 47.7 million units issued in the Proposed

Transaction. The PIK Units are non-transferable and not entitled to a cash distribution until

converted to common units of the Partnership. Each quarter, each holder of a PIK Unit will

receive an additional number of PIK Units in lieu of cash distributions. The PIK Units

automatically convert to Partnership common units on a one-for-one basis as follows: 50%

immediately following the payment of the first quarterly distribution after the first

anniversary of the closing of the merger, and the remaining 50% immediately following the

payment of the first quarterly distribution after the second anniversary of the closing of the

merger.

       11.     The Merger Agreement also provides that upon the closing of the Merger, the

director of Holdings GP that does not currently serve on the Partnership board of directors

will be invited to join the board of Partnership GP.

       12.     The Proposed Transaction is at a grossly inadequate and unfair price and was

arrived at by an unfair and tainted process that was intended to provide valuable assets of

Holdings to defendants for unfair and inadequate consideration. Defendants have acted

together, in concert, or in conspiracy to the detriment of the Company and in breach of the

Holdings GP and Director Defendants' fiduciary duties to Holdings.

       13.     Plaintiff seeks to enjoin consummation of the Merger and completion of the

Proposed Transaction under the grossly inadequate and unfair implied price of $33.00 per

share. Alternatively, in the event that the Merger is consummated, plaintiff seeks to recover
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damages caused by the breach of fiduciary duties owed by Holdings GP and Director

Defendants. The Merger and the acts of the Director Defendants and Holdings GP , as more

particularly alleged herein, constitute a breach of defendants' fiduciary duties to Holdings and

a violation of applicable legal standards governing the defendants herein.

       14.     Defendants have exacerbated their breaches of fiduciary duty by agreeing to

lock up the Proposed Transaction with deal protection devices that preclude other bidders

from making a successful competing offer for the Company. Specifically, defendants agreed

to: (i) a “go-shop” provision permitting a limited period of 60 days for the Company to

actively solicit potential bidders; (ii) a no-solicitation provision that prevents other buyers

from having access to the Company’s confidential information following the go-shop period,

which information is necessary to formulate a bid, except under extremely limited

circumstances; (iii) a matching rights provision that allows Holdings two (2) days to match

any competing proposal in the event one is made; and (iv) a provision that requires the

Company to pay the Partnership a termination fee of $20 million.              These provisions

substantially limit the Board of Director's ability to act with respect to investigating and

pursing superior proposals and alternatives including a sale of all or part of Holdings. The

Director Defendants further breached their fiduciary duties by failing to obtain a collar to

combat any fluctuation in the price of Holdings and the Partnership LP Units that would

negatively affect Holdings' unitholders. Moreover, if Holdings unitholders do not approve

the Proposed Transaction and choose to walk away from the deal because the Partnership LP

Units value declines, it will result in a termination fee of $20 million payable by Holdings.

       15.     Finally, on October 4, 2010, Holdings filed a Schedule 14A Definitive Proxy

Statement (the “Proxy”) with the Securities and Exchange Commission (“SEC”) in

connection with the Proposed Transaction pursuant to which, inter alia, the Director

Defendants recommended that Holdings stockholders vote “FOR” the approval and adoption
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of the Merger Agreement and in favor of the Proposed Transaction at a scheduled unitholder

vote on November 2, 2010. In connection with the Proxy, Defendants have breached their

duty of candor by failing to disclose material information to Proxy unitholders necessary for

them to determine whether to vote in favor of the Proposed Transaction.

       16.     The Director Defendants and Holdings GP’s' action in proceeding with the

Proposed Transaction is wrongful, unfair, and harmful to Holdings' public unitholders, and

will deny them their right to share proportionately in the true value of Holdings' future

growth in profits and earnings.

       17.     The Director Defendants and Holdings GP have breached their fiduciary

duties to Holdings unitholders by causing the Company to enter into the Merger Agreement

that provides for the sale of Holdings at an unfair price, and deprives Holdings' public

unitholders of maximum value to which they are entitled.

       18.     Plaintiff and the class have suffered and will suffer irreparable injury unless

defendants are enjoined from breaching their fiduciary duties and from carrying out the

aforesaid plan and scheme. Plaintiff seeks to enjoin defendants from approving the Merger

or, in the event the Merger is consummated, recover damages resulting from defendants'

violations of their fiduciary duties of loyalty, good faith, and due care.

                               JURISDICTION AND VENUE

       11.     The Court has jurisdiction over the subject matter of this action pursuant to

section 27 of the Exchange Act, 15 U.S.C. §78aa (2008), and 28 U.S.C. §§1331 and 1337

(2008). This action is not a collusive action designed to confer jurisdiction on a court of the

United States that it would not otherwise have.

       12.     Venue is proper in this District pursuant to 28 U.S.C. §1391(a)(2) (2008)

because Holdings and Holdings GP are headquartered in this District and a substantial

portion of the transaction and occurrences complained of herein, including the Defendants’
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primary participation in the wrongful acts detailed herein, occurred in this District. In

addition, one or more of the defendants either resides in or maintains executive offices in this

District.

                                       THE PARTIES

        19.    Plaintiff has been the owner of units of Holdings since prior to the transaction

herein complained of and continuously to date.

        20.    Defendant Holdings, a Delaware limited partnership, with its principal offices

located at Two Brush Creek Boulevard, Suite 200, Kansas City, Missouri 64112, primarily

operates, owns and operates a retail and wholesale propane supply, marketing and

distribution business. Holdings also owns and operates a midstream business that includes

three natural gas storage facilities (Stagecoach, Steuben and Thomas Corners), a liquefied

petroleum gas (LPG) storage facility (Bath), a natural gas liquids (NGL) business and a

solution-mining and salt production company (US Salt). For the fiscal year ended September

30, 2009 (fiscal 2009), Holdings sold and physically delivered 310 million gallons of propane

to retail customers and 380.6 million gallons of propane to wholesale customers. Its propane

business includes the retail marketing, sale and distribution of propane, including the sale and

lease of propane supplies and equipment, to residential, commercial, industrial and

agricultural customers. Holdings markets its propane products under various regional brand

names. Holdings was founded in 2001.

        21.    Defendant John J. Sherman ("Sherman") has served as President, Chief

Executive Officer, Director of Holdings GP since April 2005 and has also served as

President, Chief Executive Officer and a director of Partnership GP since March 2001, and of

Inergy's predecessor from 1997 until July 2001. He also serves as a director of Great Plains

Energy, Inc.   Defendant Sherman is the beneficial owner of approximately 39.15% or



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7,938,879 Holdings units. Also, defendant Sherman is the beneficial owner of approximately

57.03% of Holdings GP.

       22.     Defendant Warren H. Gfeller ("Gfeller") has served as Director of Holdings

GP since March 2001.

       23.     Defendant Arthur B. Krause ("Krause") has served as a director of Holdings

GP since April 2005 and has been a member of Partnership GP’s board of directors since

May 2003. Defendant Krause also serves as a director of Westar Energy.

       24.     Defendant Richard T. O'Brien (“O’Brien”) is director of Holdings GP since

May 2006. Defendant O'Brien currently serves as the President and Chief Executive Officer

and a Director of Newmont Mining Corporation. From April 2001 until September 2005,

O'Brien served as the Executive Vice President and Chief Financial Officer of AGL

Resources. He also serves as a director of Vulcan Materials Company.

       25.     The individual defendants named in paragraphs 21-24 above are all

collectively referred to herein as the "Director Defendants."

       26.     Defendant Holdings GP is a Delaware limited liability company and the

general partner of Holdings.

       27.     Defendant New NRGP LP is a Delaware limited liability company and a

wholly-owned subsidiary of Holdings GP created for purpose of completing the Proposed

Transaction.

       28.     Defendant MergerCo is a Delaware limited liability company and a wholly-

owned subsidiary of Holdings GP created for purpose of completing the Proposed

Transaction.

       29.     Defendants in paragraphs 26-28 are collectively referred to as “Holdings GP."

       30.     Defendant the Partnership, a Delaware limited partnership, with its principal

offices located at Two Brush Creek Boulevard, Suite 200, Kansas City, Missouri 64112,
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operates as an energy infrastructure and distribution company. The Partnership’s operations

include retail marketing, sale, and distribution of propane to residential, commercial,

industrial, and agricultural customers. It serves approximately 800,000 retail customers from

approximately 300 customer service centers throughout the United States. The Partnership

also operates a 40 Bcf natural gas storage business; a liquid petroleum gas storage business; a

solution-mining and salt production company; and a propane supply logistics, transportation,

and wholesale marketing business that serves independent dealers and multi-state marketers

in the United States and Canada. The Partnership was founded in 1996.

       31.       Defendant Partnership GP, a Delaware limited liability company and the

managing general partner of Partnership.

       32.       Defendants in paragraphs 30-31 are collectively referred to as the

“Partnership."

       33.       Defendants Holdings, Holdings GP, the Director Defendants and the

Partnership are collectively referred to herein as "Defendants."

       34.       The Director Defendants and Holdings GP owe fiduciary duties, including the

highest obligations of good faith, loyalty, fair dealing, due care, and full candor to Holdings

and its unitholders.

       35.       The Director Defendants and Holdings GP, by reason of their corporate

directorships and/or executive positions, are fiduciaries to and for the Company's unitholders,

which fiduciary relationship requires them to exercise their best judgment, and to act in a

prudent manner and in the best interests of the Company's unitholders.

       36.       Each Director Defendant herein is sued individually as a conspirator and aider

and abettor, as well as in his or her capacity as an officer and/or director of the Company, and

the liability of each arises from the fact that he or she has engaged in all or part of the

unlawful acts, plans, schemes, or transactions complained of herein.
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                             CLASS ACTION ALLEGATIONS

        37.     Plaintiff, a Holdings unitholder, brings this action on his own behalf and as a

class action, pursuant to the rules of this court, on behalf of himself and all security holders of

the Company (except the defendants herein and any person, firm, trust, corporation or other

entity related to or affiliated with any of the defendant(s) or their successors in interest) who

are or will be deprived of the opportunity to maximize the value of the Holdings Units as a

result of the breaches of fiduciary duty and other misconduct arising from defendants'

actions.

        38.     This action is properly maintainable as a class action.

        39.     The class is so numerous that joinder of all members is impracticable. As of

July 30, 2010 and at all relevant times herein, Holdings has outstanding about 61,782,532

common units of its units, held by individuals and entities too numerous to bring separate

actions. It is reasonable to assume that holders of the Holdings Units are geographically

dispersed throughout the Unites States.

        40.     There are questions of law and fact which are common to the class including,

inter alia, the following:

        (i)     whether the Director Defendants and Holdings GP breached their fiduciary
                and other common law duties of undivided loyalty, independence or due care
                they owed to the Plaintiff and other members of the class by agreeing to the
                Merger;
        (ii)    whether the Director Defendants and Holdings GP are engaging in self-dealing
                in connection with the Proposed Transaction;
        (iii)   whether the Director Defendants and Holdings GP are unjustly enriching
                themselves and other insiders or affiliates of Holdings; and
        (iv)    whether the class is entitled to injunctive relief or damages as a result of
                defendants' wrongful conduct.
        41.     Plaintiff is committed to prosecuting this action and has retained competent

counsel experienced in litigation of this nature. The claims of plaintiff are typical of the

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claims of the other members of the class and plaintiff has the same interests as the other

members of the class. Plaintiff will fairly and adequately represent the class.

       42.     The prosecution of separate actions by individual members of the class would

create the risk of inconsistent or varying adjudications with respect to individual members of

the class which would establish incomparable standards of conduct for defendants, or

adjudications with respect to individual members of the class which would as a practical

matter, be dispositive of the interest of the other members not parties to the adjudications or

substantially impair or impede their ability to protect their interests.

       43.     Plaintiff and the Class have suffered damages and will continue to suffer

additional damages as a result of the acts and conduct of and breaches of fiduciary duties by

the Director Defendants and Holdings GP alleged herein, including but not limited to the lost

opportunity to assess or accept alternatives to the Merger.

       44.     The Director Defendants and Holdings GP have acted in a manner which

affects plaintiff and all members of the class, thereby making appropriate injunctive relief

and/or corresponding declaratory relief with respect to the class as a whole.

                                  SUBSTANTIVE ALLEGATIONS
       Background

       Ownership Structure
       45.  The following diagrams depict the Partnership and Holdings’ ownership

structure before giving effect to the merger and based on Partnership’s ownership as of

October 1, 2010.




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(1) Includes 508,033 Holdings common units held by management and directors (other than Holdings
    Supporting Unitholders).

        46.     Approximately 62% of the Company’s outstanding equity, which includes

Common Units and management units (“Management Units”) are owned by BGH GP and

approximately 38% by the public. BGH GP is owned by affiliates of ArcLight and Kelso and

certain investment funds along with certain members of senior management of Holdings.

Holdings GP is the Company’s general partner and is wholly owned by BGH GP.

        The Merger
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       36.       On June 11, 2010, Holdings and Partnership announced the

execution of the Merger Agreement. That release provided in relevant part:

             Kansas City, MO (August 9, 2010) – Inergy, L.P. (NYSE:NRGY) and
             Inergy Holdings, L.P. (NYSE:NRGP) today announced a definitive
             agreement that, upon completion, will result in the merger of the two
             partnerships. The merger transaction will be completed with equity
             consideration and will result in the elimination of NRGY’s incentive
             distribution rights owned by NRGP and NRGY owning its non-
             managing general partner’s economic interest. NRGY expects its
             current cash distribution rate of $0.705 per common units ($2.82
             annualized) to be unchanged as a result of the merger. The transaction
             will result in a single, streamlined entity with NRGY’s enterprise
             value exceeding $6 billion based on current market values.

             Under the terms of the merger agreement, NRGP unitholders will
             receive 0.77 NRGY common units in exchange for each NRGP
             common unit they own at closing, representing a premium to NRGP
             unitholders of approximately 10% based upon the 20-trading day
             average closing prices of both securities ending August 3, 2010. The
             transaction will result in approximately 47.7 million additional units
             being issued by NRGY. Upon closing of the merger, the former
             owners of NRGP will own approximately 43.8% of the combined
             entity.

             “We are pleased to announce the combination of the two partnerships
             into a single, streamlined entity,” said John Sherman, President and
             CEO of Inergy. “We expect that this transaction will increase our
             competitiveness, lower our cost of capital, improve the long-term
             growth profile of the company, and open up value creation
             opportunities that may not be available to us today.”

             The merger is expected to provide benefits to the current owners of
             both NRGY and NRGP by:

             •   Decreasing NRGY’s cost of capital, through the elimination of the
                 incentive distribution rights, which will improve its competitive
                 position when pursuing growth opportunities and its ability to
                 accelerate growth in distributable cash flow;

             •   Attracting a broader investor base to a single, larger entity with
                 increased public float and greater liquidity;

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     •   Preserving NRGY’s balance sheet flexibility and attractive
         liquidity position through an equity exchange transaction; and

     •   Increasing investor transparency by simplifying the ownership
         structure and governance.

     In support of the merger, certain members of the companies’ senior
     management have agreed to take a portion of their consideration in the
     form of paid-in-kind equity securities (“PIK Units”) in lieu of common
     units. The PIK Units total approximately 11.6 million units, or
     approximately 24% of the total 47.7 million units issued in the
     transaction. The PIK Units have been structured in a manner so that
     the PIK Unit recipients receive less value than the non-affiliated public
     unitholders of NRGP due to the PIK Units being non-transferable, not
     entitled to a cash distribution until converted to common units of
     NRGY, and based upon PIK terms that favor NRGY unitholders. Each
     quarter, each holder of a PIK Unit will receive an additional number of
     PIK Units in lieu of cash distributions. The PIK Units automatically
     convert to NRGY common units on a one-for-one basis as follows:
     50% immediately following the payment of the first quarterly
     distribution after the first anniversary of the closing of the merger, and
     the remaining 50% immediately following the payment of the first
     quarterly distribution after the second anniversary of the closing of the
     merger.

     Management expects the transaction will be immediately neutral to
     NRGY’s annualized distribution of $2.82 per unit and expects long-
     term accretion due to the benefits of the merger, including the
     cancellation of incentive distributions currently being paid to NRGP.

     The terms of the merger agreement were approved by an independent
     committee, appointed by the board of directors of NRGY’s managing
     general partner and by an independent committee, appointed by the
     board of directors of NRGP’s general partner. Subsequent to receiving
     recommendations of the independent committees, the boards of
     directors of both the managing general partner of NRGY and the
     general partner of NRGP unanimously approved the transaction.

     In addition to customary closing conditions, the merger is subject to
     approval by a majority vote of the outstanding limited partnership
     units of NRGP, which is expected to be held in the fourth quarter of
     2010. Certain members of management that control over 50% of
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             NRGP’s limited partnership units have committed to vote in favor of
             the merger.

             Following the merger, the director of NRGP’s general partner that
             does not currently serve on the NRGY board of directors will be
             invited to join the board of NRGY’s general partner.

       47.         The terms of the Merger Agreement were unanimously approved by

alleged independent committees of both Holdings GP and Partnership GP.

       48.      Below is a diagram depicting the ownership structure of the Partnership

following the Merger:




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       49.    Additionally, the Partnership and the Holdings Supporting Unitholders,

including defendant Sherman (who owns approximately 39% of Holdings units outstanding

and 57.03% of Holdings GP), Phillip L. Elbert, R. Brooks Sherman, Jr, Andrew L. Atterbury,

William C. Gautreaux, and Carl A. Hughes comprising a majority of the issued and

outstanding Holdings common units, have executed the Support Agreement pursuant to


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which the Holdings Supporting Unitholders have agreed to, among other things, vote in favor

of the approval and adoption of the Merger Agreement.

       50.     In support of the Merger, Holdings Supporting Unitholders have agreed to

take a portion of their consideration in the form of PIK Units in lieu of common units. The

PIK Units total approximately 11.6 million units, or approximately 24% of the total 47.7

million units issued in the Proposed Transaction. The PIK Units are non-transferable and not

entitled to a cash distribution until converted to common units of Partnership. Each quarter,

each holder of a PIK Unit will receive an additional number of PIK Units in lieu of cash

distributions. The PIK Units automatically convert to Partnership common units on a one-

for-one basis as follows: 50% immediately following the payment of the first quarterly

distribution after the first anniversary of the closing of the Merger, and the remaining 50%

immediately following the payment of the first quarterly distribution after the second

anniversary of the closing of the Merger.

       51.     The Merger Agreement also provides that upon the closing of the Merger, the

director of Holdings GP that does not currently serve on the Partnership board of directors

will be invited to join the board of Partnership GP.

       52.     Subject to certain restrictions and conditions, either Holdings or the

Partnership may terminate the Merger Agreement, if (i) the Merger has not been

consummated on or before December 31, 2010, (ii) a regulatory authority has permanently

restrained, enjoined or otherwise prohibited the consummation of the Merger or made the

Merger illegal, (iii) there has been a material breach of the Support Agreement, (iv) Holdings

or the Partnership breaches certain representations, warranties, covenants or other agreements

contained in the Merger Agreement or (v) certain changes in U.S. federal income tax law

occur. In addition, the Merger Agreement may be terminated by the mutual consent of

Holdings and the Partnership.
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       53.     The Merger Agreement is subject to customary closing conditions, including,

among other things: (i) approval by the affirmative vote of the holders of a majority of

Holdings Common Units; (ii) receipt of applicable regulatory approvals; (iii) the

effectiveness of a registration statement on Form S-4 with respect to the issuance by the

Partnership of the LP Units in connection with the Merger; (iv) approval for listing the LP

Units and Class B Units to be issued in connection with the Merger on the New York Stock

Exchange; and (v) the execution of the Amended and Restated Partnership Agreement

substantially in the form attached as Annex A to the Merger Agreement.

       54.     The Proposed Transaction is valued at approximately $33.00, as of close on

August 9, 2010, for each Holdings Unit.

       55.     The Proposed Transaction serves no legitimate business purpose of Holdings

but rather is an attempt by defendants to enable the Partnership to benefit unfairly from the

transaction at the expense of Holdings' public unitholders. The Proposed Transaction will,

for a grossly inadequate consideration, deny plaintiff and the other members of the class their

right to share proportionately in the future success of Holdings and its valuable assets, while

permitting the Partnership to reap huge benefits from the transaction.

       56.     Defendants have exacerbated their breaches of fiduciary duty by agreeing to

lock up the Proposed Transaction with deal protection devices that preclude other bidders

from making a successful competing offer for the Company. Specifically, defendants agreed

to: (i) a “go-shop” provision permitting a limited period of 60 days for the Company to

actively solicit potential bidders; (ii) a no-solicitation provision that prevents other buyers

from having access to the Company’s confidential information following the go-shop period,

which information is necessary to formulate a bid, except under extremely limited

circumstances; (iii) a matching rights provision that allows Holdings 2 days to match any

competing proposal in the event one is made; and (iv) a provision that requires the Company
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to pay the Partnership a termination fee of $20 million. These provisions substantially limit

the Board of Director's ability to act with respect to investigating and pursing superior

proposals and alternatives including a sale of all or part of Holdings.             The Director

Defendants further breached their fiduciary duties by failing to obtain a collar to combat any

fluctuation in the price of Holdings and the Partnership LP Units that would negatively affect

Holdings' unitholders.    Moreover, if Holdings unitholders do not approve the Proposed

Transaction and choose to walk away from the deal because the Partnership LP Units value

declines, it will result in a termination fee of $20 million payable by Holdings.

       57.     The terms of the Merger Agreement are structured to ensure that the

Partnership, and only the Partnership, ultimately acquires Holdings, regardless of whether

such terms are designed and/or serve to maximize unitholder value.

       58.      The Termination Fee and deal protection devices are deterrents to other

potential bidders and provide defendants with an unearned windfall at the expense of the

Company's public unitholders if a superior bid emerges.

       59.     The Director Defendants will maintain a significant and sizeable amount of LP

Units, approximately 28%, after the closure of the Proposed Transaction. Defendants Gfeller,

Krause and Taylor will remain on the board of directors of Partnership GP. Defendants

Sherman and Elbert will continue to be on the board of directors of Partnership GP.

       60.     There remains a conflict of interest by virtue of the law firm of Vinson &

Elkins LLP providing opinions to both Partnership and Holdings in the Proposed Transaction.

       61.     Accordingly, the terms of the Merger Agreement substantially limit the

Board's ability to act with respect to investigating and pursuing superior proposals and

alternatives including a sale of all or part of Holdings.

                      The Proxy is Materially Misleading and/or Incomplete


                                                19


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       62.     On October 1, 2010, Holdings filed the Proxy in connection with the Proposed

Transaction and seeking, inter alia, the approval of Holdings Unitholders of the Merger

Agreement and the transactions contemplated thereby.

       63.     The Proxy fails to provide the Holdings’ Unitholders with material

information and/or provides them with materially misleading information thereby rendering

the Unitholders unable to make an informed decision on whether to vote in favor of the

Proposed Transaction.

       64.     For example, the Proxy completely fails to disclose the underlying

methodologies, projections, key inputs and multiples relied upon and observed by Tudor,

Pickering, Holt & Co. Securities, Inc. (“TudorPickering”), the Company’s financial advisor,

so that Unitholders can properly assess the credibility of the various analyses performed by

them and relied upon by the Director Defendants in recommending the Proposed Transaction.

In particular, Holdings’ management provided the financial advisor with financial forecasts

and estimates which reflected alternative scenarios regarding the strategic direction, prospects

of the Company in the event that the merger were not consummated.

       65.     The Proxy fails to disclose the underlying methodologies, projections, key

inputs and multiples relied upon and observed by the financial advisor so that Unitholders can

properly assess the credibility of the various analyses performed by them. In particular, the

Proxy is deficient and should provide, inter alia, the following:

                        i. The basis for the following assumptions in the financial
                           projections provided by Holdings: (a) the assumption of
                           $75 million per year of unidentified acquisition or growth
                           projects, with (1) cash flow based on an 8.0x EBITDA
                           multiple; and (2) no EBITDA growth over time and
                           incremental maintenance capital expenditures equal to 2.5%
                           of EBITDA of the acquired businesses.

                        ii. The basis for the following assumptions in the financial
                            projections provided by Holdings: (a) additional growth
                            capital expenditures were assumed to be financed both with
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                 new debt in an amount equal to 3.75x forward year
                 projected EBITDA bearing interest at an 8.0% interest rate,
                 before an initial purchasers’ discount of 2.5%, and with
                 equity issued at a current yield of 6.6%, before an
                 underwriting and marketing discount of 7%; and (b) the pro
                 forma basis Inergy will achieve synergies from the merger
                 enabling it to reduce annual general and administrative
                 expenses by $1 million and to execute an additional $300
                 million of unidentified acquisitions or growth projects
                 annually throughout the forecasted period at a 9.0x
                 EBITDA multiple.


            iii. In the September 20, 2010 updated financial projections,
                 the basis for the reduction of the interest rate from 8.0% to
                 7.0% in the assumptions for purposes of calculating the
                 additional growth capital expenditures whereby it was
                 assumed to be financed both with new debt in an amount
                 equal to 3.75x forward year projected EBITDA.

            iv. In the Premiums Paid Analysis, (a) the size or purchase
                value for each transaction, and (b) respective premium for
                each transaction.

             v. In the Selected Trading Metrics Analysis, (a) the Equity
                value as a multiple of cash flow received from the
                underlying master limited partnership estimated for 2010
                and 2011 for each of the comparable general partners
                observed for each transaction; and (b) and the Implied GP
                Equity Value as a Multiple of Cash Flow Received from
                Combined GP Interest estimated for 2010 and 2011 for
                each of the comparable general partners observed for each
                transaction.

            vi. In the Selected Transactions Metrics Analysis, (a) a
                description of the transaction; and (b) the respective
                premium.

            vii. In the Relative Discounted Cash Flow Analysis, (a) the
                 basis for the terminal multiples of 16x to 20x for the
                 combined general partnership interest; (b) 12x to 16x for
                 the Partnership units; (c) discount rates of 14% to 18% for
                 the combined general partnership interest; and (d) 11% to
                 15% for the Partnership units.

           viii. In the Contribution Analysis, the basis for using the
                 assumption that cash flow is assumed to be 105% of


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                           distributed cash flow in all cases, reflecting a coverage ratio
                           of the Inergy distribution of 1.05x actual cash distributed.

       66.     By virtue of their positions as directors and senior officers of the Company,

the Director Defendants and Holdings GP have access to and knowledge of Holdings' internal

financial information which reveals the true financial and operating condition and prospects

of the Company, and have shared such information with the Partnership. Defendants are

using this information to benefit themselves at the expense and to the detriment of Holdings

and the public unitholders.

       67.     Moreover, the Director Defendants are motivated by their desire to secure

personal benefits as a result of the Proposed Transaction. Specifically, as noted, upon

completion of the Merger, the board of Directors of the Partnership will include certain of the

directors of Holdings GP and Major Holdings Unitholders. In addition, certain directors

stand to reap tens, if not hundreds, of millions of dollars of personal benefits at the expense of

the Company and its public unitholders if the Merger is consummated, including the right to

receive change-in-control benefits (such as the acceleration of their stock options), thus

putting their own personal financial interests irreconcilably in conflict with the interests of

the Company and its public unitholders.

       68.     The Director Defendants and Holdings GP actions in proceeding with the

Proposed Transaction are wrongful, unfair, and harmful to Holdings' public unitholders, and

will deny them their right to share proportionately in the true value of Holdings' valuable

assets, profitable business, and future growth in profits and earnings. The Director

Defendants and Holdings GP have breached their fiduciary duties to Holdings unitholders

and failed to maximize unitholder value by causing the Company to enter into the Merger

Agreement that provides for the sale of Holdings at an inadequate price, and deprives

Holdings' public unitholders of maximum value to which they are entitled.

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       69.     The Director Defendants and Holdings GP's actions in proceeding with the

Proposed Transaction are wrongful, unfair, and harmful to Holdings' public unitholders, and

will deny them their right to share proportionately in the true value of Holdings' valuable

assets, profitable business, and future growth in profits and earnings. The Director

Defendants have breached their fiduciary duties to Holdings unitholders and failed to

maximize unitholder value by causing the Company to enter into the Merger Agreement that

provides for the sale of Holdings at an inadequate price, and deprives Holdings' public

unitholders of maximum value to which they are entitled.

       70.     Plaintiff has no adequate remedy at law.

                                FIRST CAUSE OF ACTION

                Class Claim Against the Defendants for Violation of §14(a)
                          of the Securities Exchange Act of 1934

       71.     Plaintiff incorporates by reference and realleges each and every allegation set

forth above, as though fully set forth herein.

       72.     This claim is brought by Plaintiff derivatively against the Defendants for

violations of §14(a) of the Securities Exchange Act of 1934, 15 U.S.C. § 78a et seq. (2008),

and SEC Rule 14a-9 promulgated thereunder.

       73.     The Defendants named in this claim disseminated the false and misleading

Proxy which they knew or should have known was misleading in that it contained

misrepresentations and failed to disclose material facts necessary in order to make the

statements made, in light of the circumstances under which they were made, not misleading.

       74.     The Proxy was prepared and disseminated by Defendants named in this claim.

It misrepresented and/or concealed certain material information concerning the nature of the

process involved in the Proposed Transaction and the true value of the Company. In so

doing, they made untrue statements of material facts and omitted to state material facts

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necessary to make the statements that were made not misleading in violation of §14(a) of the

1934 Act and SEC Rule 14a-9 promulgated thereunder.

       75.     The Defendants named in this claim issued the Proxy, which was materially

false and misleading. The Defendants were aware of and/or had access to the true facts

concerning the process involved in selling the Company and the true value of the Company.

However, notwithstanding this knowledge, each of the Defendants purported to and/or

approved the dissemination of the false Proxy.

       76.     Defendants permitted the Company to be sold in an effort to aggrandize their

own financial position and interests at the expense of Holdings unitholders. By relying on the

false and misleading statements in the Proxy, the unitholders who are unaware of untruths,

and relied thereon, were directly and proximately harmed by the Defendants’ wrongful

conduct. By reason of such misconduct, the Defendants are liable pursuant to §14(a) of the

1934 Act and SEC Rule 14a-9 promulgated thereunder.

                              SECOND CAUSE OF ACTION

      Breach of Fiduciary Duty Against the Director Defendants and Holdings GP

       77.     Plaintiff adopts by reference as if set forth fully herein each of the foregoing

allegations.

       78.     The Director Defendants and Holdings GP have violated the fiduciary duties

of care to the public unitholders of Holdings.

       79.     Plaintiff and the Class will suffer irreparable injury as a result of the Director

Defendants and Holdings GP's actions.

       80.     Unless enjoined by this Court, the Director Defendants and Holdings GP will

continue to breach their fiduciary duties owed to plaintiff and the Class, and may

consummate the Proposed Transaction to their irreparable harm.



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           81.   Plaintiff and the members of the Class have no adequate remedy at law. Only

through the exercise of this Court's equitable powers can Plaintiff and the Class be fully

protected from the immediate and irreparable injury which Defendants' actions threaten to

inflict.

                                   THIRD CAUSE OF ACTION

       Aiding And Abetting Against Defendants Holdings GP and The Partnership

           82.   Plaintiff incorporates by reference as if fully set forth herein each of the

foregoing allegations.

           83.   Defendant Holdings GP and the Partnership have knowingly aided and abetted

the breaches of fiduciary duty committed by the Director Defendants and Holdings GP to the

detriment of Holdings' public unitholders. Indeed, the proposed merger could not take place

without the active participation of defendants Holdings GP and the Partnership, who will be

unjustly enriched absent relief in this action.

           WHEREFORE, plaintiff demands judgment against the Defendants jointly and

severally as follows:


           A.    Certifying this action as a class action and certifying plaintiff as a Class

                 representative;

           B.    Enjoining preliminarily and permanently, the proposed Merger under the

                 terms presently proposed;

           C.    To the extent, if any, that the transaction or transactions complained of are

                 consummated prior to the entry of this Court's final judgment, rescinding such

                 transaction or transactions or granting rescissory damages;




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      D.      Directing that Defendants account to plaintiff and the other members of the

              Class for all damages caused to them and account for all profits and any

              special benefits obtained by defendants as a result of their unlawful conduct;

      E.      Awarding the plaintiff the costs and disbursements of this action, including a

              reasonable allowance for the fees and expenses of plaintiff's attorneys and

              experts; and

      F.      Granting plaintiff and the other members of the Class such other and further

              relief as may be just and proper.

                              DEMAND FOR JURY TRIAL

      Plaintiff demands a trial by jury on all issues so triable.

Dated: October 13, 2010

                                              Respectfully submitted,

                                              DYSART TAYLOR LAY
                                              COTTER & McMONIGLE P.C.

                                              By: /s/ Don R. Lolli________
                                              Don R. Lolli                MO Bar # 24012
                                              4420 Madison Avenue
                                              Kansas City, MO 64111
                                              Telephone: (816) 931-2700
                                              Email: dlolli@dysarttaylor.com
                                              Local Counsel for Plaintiffs

                                              OF COUNSEL:
                                              BULL & LIFSHITZ, LLP
                                              Joshua M. Lifshitz
                                              Peter D. Bull
                                              18 East 41st Street
                                              New York, New York 10017
                                              (212) 213-6222
                                              Counsel for Plaintiff




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